                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


MELINDA ROJAS,                                       )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )            JUDGMENT
                                                     )
LELAND DUDEK,                                        )          5:22-CV-502-BO-BM
Acting Commissioner of Social Security,              )
                                                     )
                              Defendant.             )
                                                     )

Decision by Court.


IT IS ORDERED, ADJUDGED AND DECREED that the Commissioner of Social Security
pay Plaintiff’s counsel, Charlotte W. Hall, the sum of $18,000.00, sent to her office at P.O. Box
58129, Raleigh, North Carolina 27658, and that Plaintiffs counsel pay Plaintiff the sum of
$8,300.00, and upon the payment of such sums, this case is dismissed with prejudice.


This judgment filed and entered on May 2, 2025, and served on:
Charlotte Williams Hall (via CM/ECF NEF)
Brittany Gigliotti (via CM/ECF NEF)
Samantha Zeiler (via CM/ECF NEF)
Cassia W. Parson (via CM/ECF NEF)
Natasha McKay (via CM/ECF NEF)


                                             PETER A. MOORE, JR., CLERK
May 2, 2025
                                             /s/ Lindsay Stouch
                                             By: Deputy Clerk




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